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                                   UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                       FORT MYERS DIVISION
 GREGORY GIBBS and TATONYA HUGGINS, on behalf
 of themselves and those similarly situated,

                     Plaintiffs,

          vs.
                                                                    Case No. 2:18-CV-434-SPC-MRM
 MLK EXPRESS SERVICES, LLC, a Florida Limited
 Liability Company; AG PLUS EXPRESS, LLC, a Florida
 Limited Liability Company; AMAZON.COM, INC., a
 Foreign for Profit Corporation; AMAZON LOGISTICS,
 INC., a Foreign for Profit Corporation; AMAZON.COM
 SERVICES, INC., a Foreign for Profit Corporation;
 MANIHONG M. PHANOUVONG, Individually; and
 LILA V. PHANOUVONG, Individuals,

                Defendants.
 ______________________________________________/


       DEFENDANTS AMAZON.COM, INC., AMAZON LOGISTICS, INC., AND
    AMAZON.COM SERVICES, INC.’S NOTICE OF PENDENCY OF OTHER ACTIONS

          In accordance with Local Rule 1.04(d), I certify that the instant action:

    X     IS             related to pending or closed civil or criminal case(s) previously filed in
                         the Court, or any other Federal or State court, or administrative agency as
                         indicated below:

                         Burns v. MLK Express Services, LLC, No. 18-00625 (M.D. Fla.)________
                         Warfa v. Nationwide Express, LLC, No. 18-03103 (D. Minn.)__________
                         ____________________________________________________________
                         ____________________________________________________________

          IS NOT         related to any pending or closed civil or criminal case filed with this
                         Court, or any other Federal or State court, or administrative agency.

      I further certify that I will serve a copy of this NOTICE OF PENDENCY OF OTHER
 ACTIONS upon each party no later than FOURTEEN (14) DAYS after appearance of the party.




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 Dated: June 28, 2019               Respectfully submitted,

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                                    Attorneys for Defendants Amazon Logistics, Inc.,
                                    Amazon.com, Inc. and Amazon.com Services, Inc.




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                                   CERTIFICATE OF SERVICE

          I hereby certify that on June 28, 2019, the foregoing document was electronically filed with

 the Clerk of Court using the CM/ECF system, which will send a notice of electronic filing to all

 counsel of record.


                                                s/ Christopher K. Ramsey
                                                Christopher K. Ramsey




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